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UNlTED STATES D|STRICT COURT
WESTERN DlSTRlCT OF LOU|S|ANA
SHREVEPORT DlVlSlON
SHREVEPORT CHAPTER #237 OF C|V|I_ ACT|ON NO. 17-CV-01346
THE UNlTED DAUGHTERS OF THE
CONFEDERACY
VERSUS JUDGE JA|V|ES

THE CADDO PAR|SH CO|‘\/||SS|ON1 MAG|STRATE JUDGE HORNSBY
ET AL

MEMORANDUM lN OPPOSlT|ON TO PREL|M|NARY |NJUNCT|VE REL|EF
iVlAY lT PLEASE THE COURT:

P|aintiff Shreveport Chapter #237 of the United Daughters of the
Confederacy’s seeking a preliminary injunction should be denied because
P|aintiff has not met the requirements to obtain a preliminary injunction,
particularly the requirement of demonstrating a likelihood of success on the

merits of its claims.

|. introduction and Summary of the Argument

ln order to obtain a Preliminary lnjunction, the Plaintiff must satisfy four
prerequisites: ('l) substantial likelihood that plaintiffs will eventually prevail on the
merits; (2) a showing that plaintiffs will suffer irreparable injury unless the
injunction issues; (3) proof that the threatened injury to plaintiffs outweighs
whatever damage the proposed injunction may cause the opposing parties; and
(4) a showing that the injunction, if issued, Wou|d not be adverse to the public
interest. Planned Parenthood Ass'n of Hidalgo Cty. Tex., ino. v. Suehs, 692 F.3d
343, 348 (5th Cir.2012); accord CanalAuth. of Fla. v. Callaway, 489 F.2d 567,

572 (5th Cir.1974). The decision to grant or deny a preliminary injunction is

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discretionary With the district court. Mfss. Power & Light Co. v. United Gas Pipe
Line Co., 760 F.2d 618, 621 (5th Cir.1985). However, because a preliminary
injunction is an extraordinary remedy, it “shou|d not be granted unless the party
seeking it has clearly carried the burden of persuasion on all four requirements.”
Suehs, 692 F.3d at 348. Consequently, the decision to grant a preliminary
injunction “is the exception rather than the rule.” Miss. Power & Light Co., 760
F.2d at 621.
|l. Facts and Procedura| Background

On September 22, 2016, via Resolution No. 72 of 2016, the Caddo Parish
Commission (“Commission") established a Citizen Advisory Subcommittee of its
Long-Range Planning Committee. The purpose of this subcommittee was to
review the issue of whether the Caddo Parish Cou rthouse Grounds were an
appropriate location for the Confederate Monument. (Exhibit A) The
subcommittee held several community meetings and reported to the Commission
on August 17, 2017, recommending that two additional monuments be erected at
the Caddo Parish Courthouse and the Confederate N|onument be maintained
(Exhibit B) On October 19, 2017, the Commission adopted Resolution No. 69
which authorizes the Parish Administrator to pursue all legal means of removing
the Confederate Nlonument from the Courthouse grounds. (Exhibit C).

The Parish owns the Courthouse Square, which is B|ock 23, City of
Shreveport, and has done so since the 1840’3. As that block has been used for

public purposes to house the courthouse and at times a jail1 no part of it has ever

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been subject to corporeal possession by private persons to the exclusion of

others.
Law and Argument

l. Likelihood of Prevai|ing on the llllerits.

A. Plaintiff Does Not OWn the Property at issue in the instant Case

Plaintiff does not and cannot own the portion of the Courthouse Square
upon which the Confederate Nlonument sits. Piaintiff contends that it received an
“oral donation” of that portion from the Police Jury in 1903. The “oral donation”
referred to is in the June 18, 1903 minutes of the Police Jury, which state:

The rules Were suspended and lVlr. W.H. Wise on behalf of

the Daughters of the Confederacy made an earnest appeal for an

appropriation of $1,000.00 for the confederate monument, at same

time requesting that the monument association be given the front

plat or portion of court house square as a site for the monument.

Moved by J. S. Young that the $1,000.00 be allowed and the

front plat of court house square be reserved for that purpose, Which

motion Was unanimously adopted

Louisiana law requires that donations inter vivos be made “by authentic
act under the penalty of absolute nullity, unless othen/vise expressly permitted by
law." La. C.C.P. Art. 1541. This requirement was the same under La. Civil Code
Art. 1536 (1870) at the time of this police jury meeting. There is no act or
papenivork that the plaintiff can produce, other than these minutes, to show that
the Police Jury ever conveyed the portion of Courthouse Square upon which the
monument sits to the Daughters of the Confederacy. Furtherl the minutes state

that the front plat is reserved for the purpose of erecting the monument The

request, as written in the minutes, shows that the police jury was asked to give

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the property for that purpose but deliberately chose instead to only reserve it.
That language is not indicative of a conveyance of any kind.

Additionaiiy, there is nothing to show that this alleged “oral donation” fits
into any exception to the form required by the Civil Code. |n fact, the Louisiana
Constitution as it existed at the time of the police jury’s actionl expressly
prohibited donations of public property; the police jury could not have legally
donated the property. La Constitution of 1898, Art. 58, and the Plaintiffs are not
entitled to rely on any actions other than What the law clearly requires

Piaintiff alleges that since the monument has sat on the property since
1906, it has acquired the property by acquisitive prescription However, it is Weil-
settled law that private citizens cannot acquire property from the government via
acquisitive prescription. Third parties occupying lands that have been dedicated
to public use cannot acquire title thereto because those lands are out of
commerce and not subject to private or individual ownershipl City ofNew
Orteans v. Carrollton Land Company, 60 So.2d 95 (1913); Shreveport v. Frank C.
Walpole, 22 La. Ann. 526.

Plaintiff attempts to argue that the Courthouse Square may not belong to
the Parish because United Title, Which rendered an opinion on the ownership of
the Courthouse Square in 20021 did not find any Written conveyances to Caddo
Parish. However, the plat of the square from as far back as 1857 shows that the
Lot 23 of the City of Shreveport has been designated for the Courthouse.
(Exhibit D). l\/loreover, parish police juries have been charged with providing the

parish courthouses since 1813, further showing that any courthouse would have

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been owned by the police jury for public benefit L_S.A.-R.S. 33:4715 (l-iistorical
and Editorial Notes) Why else Wouid Plaintiff have come to the Police Jury to
request permission to erect its statute in front of the Courthouse?

if anything, by erecting the monument on public property, a sound
argument can be made that the parish owns the monument and has the authority
to dispose of it in any manner it pleases. See Sarpy v. Municipality No. 2, 9
l_a.Ann. 597, 599 (l_a.1854),' see also La. Civ. Code an`. 454 (1870) (“Thlngs
which are for the common use of a city or other plaoe, as streets and public
squares, are likewise public things.”).

For the foregoing reasons, Plaintiff cannot show that the actions of the
Parish Commission are denying it any rights in its own personal property
because plaintiff does not and cannot own the land beneath the monument

B. Vio|ation of Plaintiff’s First Amendment Rights

Governments have the right to allow the erection of monuments on their
property, and in doing so, a government is attempting to convey a certain thought
or feeling in those who will see the structure Government speech is exempt
from First Amendment scrutiny. Pleasant Grove City v. Summum,” 555 U.S. 460,
464, 129 S.Ct. 1125, 172 L.Ed.2d 853 (2009) Following this logic, the 1903
police jury was attempting to convey a message by allowing the Daughters of the
Confederacy to erect the confederate monument at the Courthousel The 2017
parish commission has the same right of government speech to authorize the

monument's remova|.

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Plaintiff asserts that defendants cannot raise government speech as a
defense and cites Matal v. Tam, _ U.S._1 137 S.Ct. 1744, 198 L.Ed.2d
366 in support of that assertion. However, Tam involved the plaintiff objecting to
the Lanham Act governing how he could trademark something he1 the plaintiff,
owned. The case has no applicability here as government property is at issue

C. Violation of Plaintist Due Process Rights

To assert a violation of the 14th amendmentl the Plaintiff has to show that
it has been denied lifel liberty or property. The parish commission is seeking
removal of the confederate monument by all legal available means; it is
authorized to have items removed from its public property. The Plaintiff does not
have an interest in the property upon Which the confederate monument sits Or
arguably the monument itself. Therefore, it has no right to block removal of the
monument.

Additionaily, if Plaintiff did have a property interest in the land upon which
the monument sits, for there to be a constitutional violation, “it is necessary to
ask what process the State provided, and Whether it was constitutionally
adequate.” Bowlby v. City ofAberdeen, 681 F.3d 215, 222 (5th Cir.2012)
(quoting Zinermon v. Burch, 494 U.S. 113, 126, 110 S.Ct. 975, 108 L.Ed.2d 100
(1990)). “The fundamental requirement of due process is the opportunity to be
heard ‘at a meaningful time and in a meaningful manner.” Mathews v. Eldridge,
424 U.S. 319, 333, 96 S.Ct. 893, 47 L.Ed.2d 18 (1976)_ in the instant case, there
was a public hearing held prior to the commission’s vote on the resolution.

Plaintiff clearly had an opportunity to be heard. (Exhibit B)

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Further, the Caddo Parish Commission formed a Nionument Advisory
Committee Which studied this issue for over a year prior to the passage of
Resolution 69. The president of United Daughters of the Confederacy #237 was
a member of that advisory committee (Exhibit E) Clearly Plaintiff had adequate
notice and opportunity to be heard on the issue of removing the monument
||. irreparable Harm

Plaintiff alleges that the monument cannot be removed without expensive
damage to its structure The only item that it offers in support of that contention
is estimates to repair the monument when it has been previously vandalized.
This information is simply not enough to meet the burden of proof of irreparable
harm. Arguably, what it does show is that in the event the monument belongs to
Plaintiff and is damaged by someone other than Plaintiff removing it, the damage
may well be repairable.

in addition, during prior discussions of removal of the monumentl the
parish has received two quotes for removal. (Exhibit F). While these quotes are
indeed expensive they too show that with the proper precautions the monument
can be removedl

Resolution 69 authorizes removal of the monument by all legal means if
the Plaintiff contends the monument belongs to it, then the option to remove it
per their specifications With minimal damage Wouid also belong to them.
Plaintiff raised funds to erect the monument; presumably it can raise the funds

required for removal.

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l|l. injury to Plaintiff v. Damage of lnjunction; Effect of injunction on
Pub|ic interest

if the Court should determine that Plaintiff is not likely to prevail on the
merits, then the Court need not engage in an inquiry balancing the injury to the
plaintiff versus the damage of issuing an injunction and the public interest.
State of Tex. v. Seatrain lntern., S. A., 518 F.2d 175 (5‘h Cir.). However, the Fifth
Circuit has held that “when a statute is enjoined, the State necessarily suffers the
irreparable harm of denying the public interest in the enforcement of its laws.”
Planned Parenthood of Greater Tex. Surgioal Health Servs. v_ Abbott, 734 F.3d
406, 419 (5th Cir.2013). The U.S. Supreme Court has held that “any time a State
is enjoined by a court from effectuating statutes enacted by representatives of its
peop|e, it suffers a form of irreparable injury." Maryland v. King, 567 U.S. 13011
133 S.Ct. 1, 3, 183 L.Ed.2d 667 (2012). Based on this logic, the greater harm

Wouid be to the public because the commission Was elected to represent them.

Conc|usion

Plaintiff cannot show a likelihood of prevailing on the merits because it
does not own the property upon Which the monument sits Therefore, there is no
denial of its first or 14th amendment rights Plaintiff also cannot show irreparable
harm because the monument can be removed and repaired, based on its own
submissions. Finally, Plaintiff cannot show that any potential harm to it
outweighs the public benefit of citizens being able to rely on the legislative

actions of their elected officials Because Plaintiff has not met the requirements

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to justify the issuance of a preliminary injunction, the iViotion for Preliminary

injunction should be denied

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Respectfully submitted,

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l certify that a copy of the foregoing was served on all counsel of record in
this matter via ClWECF on November 15, 2017.

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